

Matter of Lee (2019 NY Slip Op 02774)





Matter of Lee


2019 NY Slip Op 02774


Decided on April 11, 2019


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.




Decided and Entered: April 11, 2019
[*1]
In the Matter of JANET O. LEE, an Attorney. 
(Attorney Registration No. 4498200)

Calendar Date: April 8, 2019




Before: Garry, P.J., Lynch, Aarons, Rumsey and Pritzker, JJ.

Janet O. Lee, Wynnewood, Pennsylvania, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department



MEMORANDUM AND ORDER
Per Curiam.
Janet O. Lee was admitted to practice by this Court in 2007 and lists a business address in Philadelphia, Pennsylvania with the Office of Court Administration. Lee now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Lee's application.
Upon reading Lee's affidavit sworn to February 4, 2019 and filed February 8, 2019, and upon reading the April 3, 2019 correspondence in response by the Chief Attorney for AGC, and having determined that Lee is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Garry, P.J., Lynch, Aarons, Rumsey and Pritzker, JJ., concur.
ORDERED that Janet O. Lee's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Janet O. Lee's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Janet O. Lee is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of [*2]another; and Lee is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Janet O. Lee shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








